                             Case 4:17-cv-02475 Document 1-4 Filed on 08/11/17 in TXSD Page 1 of 1

    JS 44 (Rev. 06/17)                                                           CIVIL COVER SHEET
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXF l'AGE OF THIS FORM.)

    I. (a) PLAINTIFFS                                                                                              DEFENDANTS
    Anthony Clay, Jaopsan Jadrian Deville, and Jimmie Lowery                                                     Orvalee Donald Lairson and Cat and Sons Transportation LLC

         (b) County of Residence of First Listed Plaintiff              Harris                                     County of Residence of First Listed Defendant                       Maricopa County, Arizona
                                      (EXCEPT IN U.S. PLA!N11FF CASES)                                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                   NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                              THE TRACT OF LAND INVOLVED.

         ( C) Attorneys (Finn Name, Address, and Telephone Numbe11                                                  Attorneys (If Known)

    Clyde J. Moore, Clyde J. Moore, P.C., 6001 Savory, Suite 303, Houston,                                       Robert L. Ramey, Ramey, Chandler, Quinn & Zito, P.C., 750 Bering
    Texas 77036; (713) 953-9009                                                                                  Drive, Suite 600, Houston, Texas 77057; (713) 266-0074

    II. BASIS OF JURISDICTION (l'tacean "X" i110neBox011lyJ                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                            "X" inOneBoxfVrPiaint!ff
                                                                                                              (For Diversity Ca.~es Only)                                               and One Box.for Defendanl}
    0 1 U.S. Government                    0 3 Federal Question                                                                         PTF                DEF                                         PTF       DEF
               Plaintiff                         (U.S. Govemmenl Not a Party)                            CitizenofThisState             OJ: I              0     1   IncorporntedorPrincipalPlace       0 4      0 4
                                                                                                                                                                       ofBusiness In This State

    0 2 U.S. Government                    ~ 4    Diversity                                              Citizen of Another State               CJ 2       ~     2   Incorporated and Principal Place      0 5     0 5
               Defendant                            (Indicate Citizenship of Parties in Item Ill)                                                                       of Business In Another State

                                                                                                         Citizen or Subject of a                0 3        0     3   Foreign Nation                        0 6     0 6
                                                                                                           Forei •n Coun
    IV NATURE< OF SUIT (Place an "X" in One Bo."!: Only)                                                                                                   Click here for: Nature of Suit Code Descriotions.
                '·'ONTRACT                                             TORTS        ·····                    FORFEITURE/PE"' ALTY·                          BAN UPTCY                     OTHER STATUTES
'                                                                                                                                                                                                                          '
    0 110 Insurance                         PERSONAL INJURY                 PERSONAL INJURY              0 625 Drug Related Seizure                o 422 Appeal 28      use 158         0 375 False Claims Act
    CJ   120 Marine                       0 310 Airplane                 0 365 Personal Injury -                 of Property 21USC881              0 423 Withdrawal                     0 376QuiTam(31 USC
    0    130 Miller Act                   0 315 Airplane Product                Product Liability        0 690 Other                                     28       use
                                                                                                                                                                 157                            3729(a))
    0    140 Negotiable Instmment                Liability               0 367 Health Care/                                                                                             CJ 400 State Reapportionment
    0    150 Recovery of Overpayment 0 320 Assault, Libel &                     Phannaceutical                                                         'PUQPERTYRIGHTS                  0   410 Antitrust
                & Enforcement of Judgment        Slander                        Personal Injury                                                    0 820 Copyrights                     0   430 Banks and Banking
    CJ   151 Medicare Act                 0 330 Federal Employers'              Product Liability                                                  0 830 Patent                         0   450 Commerce
    0    152 Recovery ofDefau!ted                Liability               CJ 368 Asbestos Personal                                                  0 835 Patent - Abbreviated           0   460 Deportation
               Sn1dent Loans              0 340 Marine                          Injmy Product                                                                  New D1ug Application     0   470 Racketeer Influenced and
               (Excludes Veterans)        0 345 Marine Product                  Liability                                                         0 840 Trademark                               C01n1pt Organizations
    0    153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                           L"-BOR          .               s       IAL.-.:ECUR•TY           0   480 Consumer Credit
               ofVeteran's Benefits       ~350 Motor Vehicle             0 370 Other Fraud               0 710 Fair Labor Standards               0 861 HIA (1395ff)                    0   490 Cable/Sat TV
    0    160 Stockholders' Suits          0 355 Motor Vehicle            0 371 Truth in Lending                  Aot                              0 862 Black Lung (923)                0   850 Securities/Commodities/
    0    190 Other Contract                     Product Liability        0 380 Other Personal            0 720 Labor/Management                   0 863 DIWC/DIWW (405(g))                      Exchange
    0    195 Contract Product Liability   0 360 Other Personal                 Property Damage                    Relations                        0 864 SSID Title XVI                 0   890 Other Statutory Actions
    0    196 Franchise                          Injury                   0 385 Property Damage           0   740 Railway Labor Act                0 865 RSI (405(g))                    0   891 Agricultural Acts
                                          O 362 Personal Injury -              Product Liability         0   751 Family and Medical                                                     0   893 Environmental Matters
                                                Medical Malnractice                                               Leave Act                                                             0   895 Freedom oflnfonnation
I          ·. .,REAL PROPERTY          ..     CIVIL RIGHTS         ...    PRISONER,PETITlONS             0   790 Other Labor Litigation             FEDERAL TAX SUITS                           Act
    0    210 Land Condemnation            0 440 Other Civil Rights          Habeas Coq111s:              0   791 Employee Retirement              0 870 Taxes (U.S. Plaintiff           0 896 Arbitration
    0    220 Foreclosure                  0 441 Voting                   0 463 Alien Detainee                    Income Security Act                    or Defendant)                   0 899 Administrative Procedure
    0    230 Rent Lease & Ejectment       0 442 Employment               0 510 Motions to Vacate                                                  0 871 IRS-Third Party                       Act/Review or Appeal of
    0    240 Torts to Land                0 443 Housing/                       Sentence                                                                 26        use
                                                                                                                                                                7609                          Agency Decision
    0
    0
         245 Tort Product Liability
         290 All Other Real Property
                                                Accommodations
                                          0 445 Amer. w/Disabilities -
                                                                         0 530 General
                                                                         0 535 Death Penalty                   , IMMIGRATION               ..                                           0 950 Constitutionality of
                                                                                                                                                                                              State Statutes
                                                Employment                  Other:                       0 462 Naturalization Application
                                          0 446 Amer. w/Disabilities -   0 540 Mandamus & Other          0 465 Oilier hrunigration
                                                Other                    0 550 Civil Rights                      Actions
                                          O 448 Education                0 555 Prison Condition
                                                                         0 560 Civil Detainee -
                                                                               Conditions of
                                                                               Confinement

V. ORIGIN (Place an               "X" in One Box Only)
CJ 1 Original                 ~2 Removed from                 0    3     Remanded from              0 4 Reinstated or       LJ 5 Transferred from                    D 6 Multidistrict            0 8 Multidistrict
             Proceeding             State Court                          Appellate Court                Reopened                    Another District                     Litigation -                 Litigation -
                                                                                                                            (.1pecifJV                         Transfer                              Direct File
                                             Cite the U.S. Civil Statute under which you are filing (Do 11otdtej11ri..wlk·timmlst11t11tes 1111/ess diversity):
VI CAUSE OF ACTION 28 U.S.C .. 1441and1446 and 28 U.S.C. 1332
         '                                    Bnef descnphon of cause:
                                              Alie ed       ersonal in'uries from a motor vehicle accident
VII. REQUESTED IN     0                           CHECK IF THIS IS A CLASS ACTION                            DEMAN                                               CHECK YES only if demanded in complaint:
     COMPLAINT:                                   UNDER RULE 23, F.RCv.P.                                      200                                               JURY DEMAND;         JS{ Yes    DNo
VIII. RELATED CASE(S)
                                                 (See ins/ructions):
      IF ANY                                                             JUDGE                                                                         DOCKET NUMBER
                                                                             SIGNATU




         RECEIPT#                    AMOUNT                                      APPL YING IFP                                     JUDGE                                    MAG.JUDGE
